Case: 4:24-cv-00927-HEA   Doc. #: 1-1     Filed: 07/08/24   Page: 1 of 40 PageID #:
                                        19




                               Exhibit A
Case: 4:24-cv-00927-HEA   Doc. #: 1-1     Filed: 07/08/24   Page: 2 of 40 PageID #:
                                        20
Case: 4:24-cv-00927-HEA   Doc. #: 1-1     Filed: 07/08/24   Page: 3 of 40 PageID #:
                                        21
Case: 4:24-cv-00927-HEA   Doc. #: 1-1     Filed: 07/08/24   Page: 4 of 40 PageID #:
                                        22
Case: 4:24-cv-00927-HEA   Doc. #: 1-1     Filed: 07/08/24   Page: 5 of 40 PageID #:
                                        23
Case: 4:24-cv-00927-HEA   Doc. #: 1-1     Filed: 07/08/24   Page: 6 of 40 PageID #:
                                        24
Case: 4:24-cv-00927-HEA   Doc. #: 1-1     Filed: 07/08/24   Page: 7 of 40 PageID #:
                                        25
Case: 4:24-cv-00927-HEA   Doc. #: 1-1     Filed: 07/08/24   Page: 8 of 40 PageID #:
                                        26
Case: 4:24-cv-00927-HEA   Doc. #: 1-1     Filed: 07/08/24   Page: 9 of 40 PageID #:
                                        27
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 10 of 40 PageID #:
                                        28
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 11 of 40 PageID #:
                                        29
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 12 of 40 PageID #:
                                        30
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 13 of 40 PageID #:
                                        31
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 14 of 40 PageID #:
                                        32
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 15 of 40 PageID #:
                                        33
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 16 of 40 PageID #:
                                        34
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 17 of 40 PageID #:
                                        35
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 18 of 40 PageID #:
                                        36
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 19 of 40 PageID #:
                                        37
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 20 of 40 PageID #:
                                        38
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 21 of 40 PageID #:
                                        39
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 22 of 40 PageID #:
                                        40
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 23 of 40 PageID #:
                                        41
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 24 of 40 PageID #:
                                        42
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 25 of 40 PageID #:
                                        43
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 26 of 40 PageID #:
                                        44
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 27 of 40 PageID #:
                                        45
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 28 of 40 PageID #:
                                        46
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 29 of 40 PageID #:
                                        47
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 30 of 40 PageID #:
                                        48
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 31 of 40 PageID #:
                                        49
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 32 of 40 PageID #:
                                        50
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 33 of 40 PageID #:
                                        51
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 34 of 40 PageID #:
                                        52
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 35 of 40 PageID #:
                                        53
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 36 of 40 PageID #:
                                        54
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 37 of 40 PageID #:
                                        55
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 38 of 40 PageID #:
                                        56
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 39 of 40 PageID #:
                                        57
Case: 4:24-cv-00927-HEA   Doc. #: 1-1    Filed: 07/08/24   Page: 40 of 40 PageID #:
                                        58
